 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 1 of 40. PageID #: 413578




                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

__________________________________________
                                          )                   Case No. 1:17-MD-2804
IN RE: NATIONAL PRESCRIPTION              )
OPIATE LITIGATION                         )                   Judge Dan Aaron Polster
                                          )
THIS DOCUMENT RELATES TO:                 )                   MEMORANDUM OPINION
                                          )                   CERTIFYING NEGOTIATION
All Cases                                 )                   CLASS
                                          )
       and                                )
                                          )
The County of Summit, Ohio, et al., v.    )
Purdue Pharma L.P. et al.,                )
Case No. 18-op-45090                      )
_________________________________________ )


       Before the Court is Plaintiffs’ Renewed and Amended Motion for Certification of Rule

23(b)(3) Cities/Counties Negotiation Class. Doc. #: 1820. Various Defendants and a handful of

putative class members oppose the motion, as do 37 State Attorneys General and the Attorneys

General of Guam and the District of Columbia. After consideration of all of the briefing on this

motion, and oral argument held on August 6, 2019, and all of the prior proceedings herein, the

Plaintiffs’ Motion is GRANTED-IN-PART. This Memorandum opinion explains the Court’s

reasoning. An Order will issue separately.

I.     THE NEGOTIATION CLASS CERTIFICATION MOTION

A.     Background

       On December 12, 2017, the Judicial Panel on Multidistrict Litigation (JPML) transferred

all opioid-related litigation pending in federal courts throughout the United States to this forum for

consolidated pretrial proceedings. Doc. #: 1. At present, this multidistrict litigation (MDL)

encompasses more than 2,000 individual actions. Most of these constituent cases have been filed

                                                  1
    Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 2 of 40. PageID #: 413579




by cities and counties throughout the United States seeking, inter alia, reimbursement for monies

they have expended – and continue to spend – addressing the opioid crisis. The Defendants include

numerous manufacturers, distributors, and pharmacies. Beyond the thousands of cases pending

here, many other municipalities are litigating similar opioid-related lawsuits in state courts

throughout the United States.

         From the outset of this MDL, the Court has encouraged the parties to settle the case.

Settlement is important in any case. Here, a settlement is especially important as it would expedite

relief to communities so they can better address this devastating national health crisis. A Court-

appointed Special Master (Professor Francis McGovern) has overseen extensive settlement

negotiations. The Defendants have insisted throughout on the need for a “global settlement,” that

is, a settlement structure that resolves most, if not all, lawsuits against them arising out of the

opioid epidemic. This has created an obstacle to settlement. In a standard settlement class action,

the class members can opt out of the class after the settlement is reached. With thousands of

counties and cities already litigating, the Defendants in this MDL are concerned that many of these

Plaintiffs could opt out. The Defendants would then have paid a lot of money to settle non-

litigating claims but would still have to litigate a host of potentially significant claims. This

situation required creative thinking. The Special Master, in conjunction with experts and the

parties in the case, developed an innovative solution: a new form of class action entitled

“negotiation class certification.”1




1
 The Special Master and Professor Rubenstein, the Court’s expert in this matter, have produced a
scholarly version of the idea. See Francis E. McGovern & William B. Rubenstein, The Negotiation
Class: A Cooperative Approach to Class Actions Involving Large Stakeholders (Duke Law Sch.
Pub.      Law      &       Legal     Theory     Series,  Paper      No.     2019-41,      2019),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3403834.

                                                 2
 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 3 of 40. PageID #: 413580




       The idea is to undertake the class certification and opt-out process prior to a settlement

being reached, as is done in a normal class action geared toward trial. This will fix a class size

and provide the Defendants a sense of the precise scope of the group with whom they are

negotiating. The class members’ rights are protected in several critical ways. At the front end,

before having to make the opt-out decision, the class members can calculate their share of any

future settlement; here, groups of Plaintiffs and Plaintiffs’ attorneys have worked together to

establish a public health-based settlement allocation plan, the details of which are all made

available to the Class and public at a case website, www.opioidsnegotiationclass.info. At the back

end, each class member will be entitled to vote (yes or no) on whether a proposed settlement

amount is sufficient, and no settlement will be deemed accepted unless it garners a supermajority

(75%) of those voting; here, a proposal will need to secure approval from six separate

supermajority vote counts, reflecting different slices of the class. Additionally, of course, the

Court protects the absent class members:         Rule 23 requires that the Court make specific

determinations before permitting a class action to go forward, Fed. R. Civ. P. 23(a), (b)(3), (c), (g),

and similarly requires that the Court – independent of the class’s vote – approve any proposed

settlement and attorney’s fees, Fed. R. Civ. P. 23(e), (h).

       As discussed more fully below, the Court is mindful of the fact that this is a novel procedure

and one opposed by the vast majority of State Attorneys General, who themselves are actively

pursuing important State opioid litigation. The Court has determined that the procedure is a

legitimate one, that certification is warranted based on the facts of the case, and that the whole

process is more likely to promote global settlement than it is, as the Attorneys General argue, to

impede it. Regardless, there is nothing coercive about this process: no Defendant has to employ

it. There is nothing exclusive about this process: it does not interfere with the States settling their



                                                  3
 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 4 of 40. PageID #: 413581




own cases any way they want, and it does not stop parties in the MDL from settling in other ways.

And there is nothing intrusive about this process: it does not stop any litigation from continuing

and in no way interferes with the upcoming bellwether trials in this MDL. This process simply

provides an option – and in the Court’s opinion, it is a powerful, creative, and helpful one. The

Court therefore grants certification of the negotiation class but, mindful of the objections that have

been mounted against it, upon terms more carefully prescribed and delimited than those proposed

by the Plaintiffs.

B.      The Motion

        By motion dated June 14, 2019, the Plaintiffs’ leadership team in this MDL filed a motion

on behalf of 51 cities and counties entitled, Motion for Certification of Rule 23(b)(3)

Cities/Counties Negotiation Class, Doc. #: 1683; Doc. #: 1690 (corrected version). A variety of

parties responded to this motion, including a group of Distributor Defendants, Doc. #: 1720, and

a group of Pharmacy Defendants, Doc. #: 1723, but no Manufacturer Defendants. Moreover, two

sets of State Attorneys General – representing 30 States, the District of Columbia, and Guam –

sent letters to the Court registering their disapproval of the proposed motion. Doc. ##: 1726, 1727.

The Court held a hearing on the initial motion on June 25, 2019, and at that time adopted a briefing

schedule enabling the Plaintiffs to re-brief the motion in light of the filed oppositions.

Accordingly, on July 9, 2019, the Plaintiffs filed a Renewed and Amended Motion for Certification

of Rule 23(b)(3) Cities/Counties Negotiation Class.        Doc. #: 1820; see also Doc. #: 2135

(Statement of City of Manchester, New Hampshire Supplementing Plaintiffs’ Renewed Motion).

On July 23, a set of nine Distributor and Pharmacy Defendants filed a brief opposing the motion,

Doc. #: 1949, while a group of Manufacturing Defendants filed a brief asking the Court to clarify




                                                  4
    Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 5 of 40. PageID #: 413582




the relationship of negotiation class certification to American Pipe tolling, Doc. #: 1952;2 other

Defendants subsequently noted their joinder in these responses, Doc. ##: 1954, 2057. A group of

six (6) Ohio cities filed a brief in opposition, Doc. #: 1958, later joined by a seventh city, Doc. #:

2064, while another putative class member (City of Fargo, North Dakota) filed a brief asking the

Court to clarify the end date for inclusion in a particular sub-group of the proposed negotiation

class, Doc. #: 1953. A letter to the Court joined by 37 State Attorneys General, as well as the

Attorneys General of the District of Columbia and Guam, strongly urged the Court to reject the

motion. Doc. ##: 1951, 1955. The Ohio Attorney General, who signed that letter, also filed a

separate letter of his own registering further opposition. Doc. #: 1973. On July 30, 2019, the

Plaintiffs filed a reply to these oppositions. Doc. #: 2076. On August 6, 2019, this Court held a

hearing on the motion.

C.       The Proposed Process

         The negotiation class certification process unfolds in five stages:

         1.     Allocation/Voting. Class members first develop a plan for allocating a lump sum

settlement among the class and a plan for voting on the reasonableness of any lump sum settlement

that is achieved. This enables each class member to know its settlement share and franchise prior

to the opt-out deadline. Here, the MDL Plaintiffs’ leadership has met with numerous groups of

Plaintiffs and public health experts to create the allocation plan. Doc. #: 1820-1 at 49. The plan

proposes distributing 75% of the lump sum to counties, with each county’s share calculated

according to three equally-weighted public health factors. Id. at 48–49, 55–60. The county’s share

is then divided among the county and its constituent cities, ideally through negotiated agreement.



2
 Movants disclaim any tolling effect of their motion, Doc. #: 2076 at 19, so the Court need not
address this issue at this time.

                                                   5
 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 6 of 40. PageID #: 413583




Id. at 60. Of the remaining 25%, 10% is set aside for a “Private Attorneys’ Fee Fund,” from which

private attorneys – defined as any counsel with representation agreements with one or more Class

members executed as of June 14, 2019 – could seek fees in lieu of enforcement of private

contingency fee contracts with their clients. Id. at 49–50. Finally, 15% is set aside for a “Class

Members’ Special Needs Fund,” to cover the special needs and expenditures of any Class member

that are not addressed by the class-wide allocation formula, including expenses associated with

litigation. Id. at 96. All of these amounts are subject to Court approval and any of this 25% (the

Private Attorneys’ Fee Fund and the Class Members’ Special Needs Fund) not so distributed is

then re-distributed across the class according to the allocation plan. Id. at 95, 97.

       The voting model is both simple and complex. Doc. #: 1820 at 8–9. If a lump sum

settlement is reached with a Defendant, each class member will be given the opportunity to cast a

single, simple, yes/no vote as to whether the size of the lump sum settlement is sufficient. The

votes will then be counted to ensure the settlement is accepted by 75% of all voting entities by

number, 75% of all voting entities by population, and 75% of all voting entities by allocation; each

of those three types of votes will be counted twice, once among jurisdictions that had filed lawsuits

as of June 14, 2019 (“litigating entities”) and once among jurisdictions that had not (“non-litigating

entities”). The various counts ensure that: (1) the plethora of smaller counties cannot alone control

an outcome (the population vote guards against that); (2) the plethora of small-recovery counties

cannot alone control an outcome (the allocation vote guards against that); and that (3) neither the

litigating nor non-litigating entities alone can control an outcome.

       Part IV of this Memorandum analyzes the equities of the allocation and voting plans.

       2.      Class Certification. With the allocation and voting plans in place, plaintiffs move

for certification of the negotiation class, as have the present movants.



                                                  6
 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 7 of 40. PageID #: 413584




       3.      Notice and Opt-Out Period. If the Court approves the motion, the class members

are given notice of class certification and an opportunity to opt out. Here, movants propose a 60-

day opt-out period. During that time, class members can assess their share of a lump sum

settlement and the proposed voting structure at the class website to determine whether they want

to be part of this negotiating group.

       4.      Lump Sum Settlement Negotiation. At the conclusion of the opt-out period, with

the size of the class set, the class is ready to negotiate a settlement with one or more defendants.

No defendant is required to negotiate with the class and the underlying litigation activities continue

unabated.

       5.       Judicial Approval, Including Class Vote. If a settlement is reached, the parties

move for judicial approval, as required by Rule 23(e). That process encompasses three parts: (a)

the Court must preliminarily approve the settlement, Fed. R. Civ. P. 23(e)(1); (b) class members

are then given their opportunity to vote on the settlement, and they may file objections with the

Court, Fed. R. Civ. P. 23(e)(5); and (c) if the Class votes to accept the settlement, class counsel

moves for final approval.      The Court would then make the same determination as to the

settlement’s reasonableness as Rule 23 requires it to do in any class action. Fed. R. Civ. P.

23(e)(2).

II.    RULE 23 AUTHORIZES NEGOTATION CLASS CERTIFICATION

       Rule 23 authorizes a court to certify a case, or issues within a case, for class treatment if

certain requirements are met. Since adoption of the current version of Rule 23 in 1966, courts

have generally certified two types of class actions: trial class actions and settlement class actions.

The present motion asks this Court to certify a “negotiation class action.” The concept and




                                                  7
 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 8 of 40. PageID #: 413585




procedure are set forth above. The question addressed here is whether Rule 23 authorizes this

procedure. The Court finds that it does.

        An important starting point is that the text of Rule 23 does not dictate, nor therefore limit,

the uses to which the class action mechanism can be applied. Rule 23(a) and (b) set forth the

requirements that must be met before a court can certify a class, but neither specifies that the class

to be certified is for “trial” or “settlement” purposes. Defendants point to the fact that several

passages in Rule 23 specifically reference settlement, as opposed to trial, classes. Doc. #: 1949 at

7. They argue that these passages demonstrate that the Rule authorizes only trial and settlement

classes. Id. Their argument is not convincing. The passages they reference were not added to

Rule 23 until December 2018, yet 21 years before that – when Rule 23 contained no explicit

reference to settlement class actions – the Supreme Court affirmed courts’ use of the settlement

class action device. Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 618 (1997). Moreover, the

passages that were added in 2018 do not authorize settlement classes but simply identify certain

procedures relevant to those types of class actions.

        The history of class action law provides further support for this new use of the class action

procedure. Soon after Rule 23’s adoption in 1966, parties began asking courts to certify settlement

class actions, that is, cases that had already been settled prior to the court’s certification of a class.

See, e.g., Philadelphia Hous. Auth. v. Am. Radiator & Standard Sanitary Corp., 323 F. Supp. 364

(E.D. Pa. 1970), aff'd and modified sub nom. Ace Heating & Plumbing Co. v. Crane Co., 453 F.2d

30 (3d Cir. 1971). This development was deemed novel and had its share of detractors. See

Manual for Complex Litigation § 1:46 (4th ed. 1977) (“There is, to say the least, serious doubt that

this practice is authorized by Rule 23 as amended, even if it is conceded that the courts are expected

to develop new methods of employing the amended Rule 23.”). Many critics made the same



                                                    8
 Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 9 of 40. PageID #: 413586




argument then that detractors of the proposed negotiation class make now: that the use is not

authorized by the rule. The lower courts rejected this argument, and in its 1997 decision in the

Amchem case, the Supreme Court affirmed that Rule 23 authorized settlement class actions.

Amchem, 521 U.S. at 618 (noting that “all Federal Circuits recognize the utility of Rule 23(b)(3)

settlement classes” and approving use of the device). The Defendants’ reliance on Amchem for

the proposition that “in recent years [the Supreme Court has] repeatedly warned that new

innovations that go beyond the express scope of Rule 23 are prohibited,” Doc. #: 1949 at 8 n.8, is

therefore unpersuasive and inapposite.

        Finally, it is not surprising that the history of Rule 23 supports different uses of the class

action device, and the text does not prohibit these, because Rule 23 is equitable in nature and its

purpose is to provide practical means for addressing complex litigation problems. Myriad judicial

decisions have accordingly supported liberal application of Rule 23. See, e.g., Schneider v. Elec.

Auto-Lite Co., 456 F.2d 366, 370 (6th Cir. 1972) (“[T]he District Court was correct in liberally

interpreting Rule 23 in order to avoid burdensome litigation and to give efficient disposition to this

action.”).

        One aspect of the negotiation class action process that differs from a settlement class action

is that class members must make their decision whether to opt out before knowing the size of the

settlement. Some argue this violates the Due Process Clause. Doc. #: 1958 at 8–12. It does not.

In a normal trial class action, class members must make their opt-out decision at the outset of the

suit, before the result is known, and no one argues that process is unconstitutional. Moreover, in

that process, if their trial attorneys later settle the case, Rule 23 enables a Court to offer a second

opt-out opportunity but does not require it to do so. Fed. R. Civ. P. 23(e)(4). If there were a

constitutional right to opt out once the outcome was known, Rule 23 would require a second opt-



                                                  9
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 10 of 40. PageID #: 413587




out opportunity, not just authorize it. Here, class members are given sufficient information to

make an informed decision about whether they want to bind themselves to a negotiation process,

from which they will receive a known portion of the outcome and in which they will get a right to

vote on the settlement. Moreover, the Court always retains the option of enabling a second opt-

out opportunity if circumstances require.

        The Defendants also note that a few courts have rejected the 75% voting idea when

employed outside the class action context, Doc. #: 1949 at 25–26 (citing Tax Auth., Inc. v. Jackson

Hewitt, Inc., 898 A.2d 512, 521 (N.J. 2006); Hayes v. Eagle-Picher Indus., Inc., 513 F.2d 892,

894–95 (10th Cir. 1975)), and argue that the voting process therefore cannot be employed within

the class action context. But the two contexts are distinct: class members in class actions, unlike

individual mass tort plaintiffs, are not given individualized settlement approval rights. All class

members are automatically bound unless they can and do opt out. Moreover, in a normal

settlement class action, class members may either object or opt out, but if they object and lose their

objection, they cannot then opt out: they are instead bound to a settlement with which they

disagree. The voting process is therefore consistent with the class action mechanism.

        More generally, the Defendants argue that a negotiation class violates Article III because

it is somehow unrelated to a judicial function. Doc. #: 1949 at 7–8. They concede, as they must,

that a settlement class is legitimate, noting that it assists a court in its judicial function of “entering

a judgment of approval on a class settlement.” Id. at 8. But negotiation class certification serves

an even more important judicial function at an even more important juncture in the litigation: in

certifying a negotiation class, the Court undertakes the familiar judicial function of ensuring that

the class certification requirements are met and the absent class members’ interests are protected

by those who purport to represent them, prior to those agents negotiating a settlement for the



                                                    10
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 11 of 40. PageID #: 413588




absent class members. Negotiation class certification therefore corrects one of the long-standing

concerns of settlement class actions: that un-approved agents have settled un-certified claims.

See, e.g., Ace Heating & Plumbing Co. v. Crane Co., 453 F.2d 30, 33 (3d Cir. 1971) (examining

argument that lawyer, “having bargained the settlement terms with defendants prior to his official

designation by the court as class representative . . . may be under strong pressure to conform to the

defendants’ wishes”). Moreover, assisting parties in creating a settlement, particularly in a large

case of this type with contested liability and adversarial litigation, is itself a meaningful judicial

function. See, e.g., In re Nat’l Prescription Opiate Litig., 927 F.3d 919, 923 (6th Cir. 2019)

(noting, without censure, that “[t]he district court presiding over this potentially momentous MDL

has repeatedly expressed a desire to settle the litigation before it proceeds to trial”).

III.    THE REQUIREMENTS OF CLASS CERTIFICATION ARE MET

A.      The Claims and Issues

        Rule 23(c)(1)(B) states that: “An order that certifies a class action must define the class

and the class claims, issues, or defenses, and must appoint class counsel under Rule 23(g).” Fed.

R. Civ. P. 23(c)(1)(B). The Defendants argue that the movants have failed to proffer sufficient

evidence in support of their motion and/or that the motion is not tethered to a particular complaint.

Doc. #: 1949 at 9–13. (Defendants also complain about a lack of discovery concerning the class

representatives. Id. at 12 n.13. They filed two briefs in response to movants’ original proposal,

Doc. ##: 1720, 1723, and appeared at the June 25, 2019 hearing on the motion, yet never asked for

or filed a motion seeking discovery).

        The current motion does not arise in a factual vacuum. This MDL has been pending for

nearly two years. The Court has undertaken extensive review of the factual and legal issues in the

case. Several bellwether trials will commence shortly and the Court has ruled on critical motions



                                                  11
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 12 of 40. PageID #: 413589




to dismiss, myriad discovery matters, and a variety of complex and voluminous summary judgment

motions. The Court and parties are deeply steeped in the legal and factual issues in the case, and

the extensive record of the case – now over 2,500 entries on the MDL docket alone – provides

more than sufficient factual and legal context for a decision on class certification. The Defendants’

concern that the present motion is not tethered to a specific complaint implies that there is an

absence of relevant pleading in this matter. If there is a problem in this case, however, it is one of

glut, not famine: there are more than 2,000 complaints pending here, many of which exceed 300

pages in length. Although parties sometimes make class allegations in their complaint, Defendants

point to no precedent holding that class allegations in a complaint are a necessary prerequisite to

a class certification motion under Rule 23; similarly, although in MDLs of this type there are

sometimes master complaints, there is no MDL-specific (or any other) rule requiring such a

complaint and, absent specific agreement to the contrary, such complaints are typically purely

administrative in nature. See William B. Rubenstein, 3 Newberg on Class Actions § 10:15 (5th ed.

2019) [hereinafter Newberg on Class Actions].

       Contrary to the Defendants’ assertions, the movants specifically point the Court to the

allegations contained in Cuyahoga County, Ohio’s pleadings. Doc. #: 1820-1 at 78 n.40. Given

the Court’s extensive knowledge of the heavily-developed legal and factual record in this matter,

and the discretion Rule 23 delegates to it, the Court adopts movants’ approach but utilizes as its

reference the allegations in substantially similar complaints filed by Summit County, Ohio (Doc.

##: 513, 1466). The Court references the Summit County pleadings for several inter-related

reasons: (1) Summit County is one of two bellwether cases set for trial in the coming month, with

its facts and legal allegations well-known to the Court and litigants; (2) Summit County’s

complaint was extensively tested through motions to dismiss covering thousands of pages of



                                                 12
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 13 of 40. PageID #: 413590




documents and nearly a year of litigation, Doc. #: 1203; (3) Summit County’s complaint was the

basis of a “short form complaint” process that enabled all plaintiffs in this MDL to incorporate by

reference certain of the legal and factual allegations therein, Doc. #: 1282; (4) the vast bulk of the

49 putative class representatives – and numerous other plaintiffs – have accordingly adopted the

Summit County pleadings.3

        The Summit County complaint and related short-form complaint enabled MDL plaintiffs

– by checking a few boxes – to adopt two federal RICO claims and a set of factual allegations

encompassing, inter alia, issues arising out of the federal Controlled Substances Act. The first

RICO claim, levelled against manufacturers labelled “RICO Marketing Defendants,” alleges the

manufacturers engaged in a variety of activities that misled physicians and the public about the

need for and addictiveness of prescription opioids, all in an effort to increase sales. See Summit

County Pleadings, Doc. #: 513, ¶¶ 814–48 (facts), ¶¶ 878–905 (law), Short Form Complaint

Ruling, Doc. #: 1282-1 at 3 ¶3, at 3–4, ¶5. The second RICO claim, levelled against manufacturers

and distributors labelled “RICO Supply Chain Defendants,” alleges these defendants ignored their

responsibilities to report and halt suspicious opioid sales, all in an effort to artificially sustain and

increase federally-set limits (quotas) on opioid sales. See Summit County Pleadings, Doc. #: 513,

¶¶ 849–77 (facts) ¶¶ 906–38 (law), Short Form Complaint Ruling, Doc. #: 1282-1 at 3 ¶3, at 3–4,

¶5. The complaints also allege that the Controlled Substances Act required the manufacturers,


3
  The Court is aware that as Summit County’s bellwether trial has approached, the County has
settled with some defendants and that the County is no longer proposed as a class representative.
Doc. #: 2583 at 5. However, using its complaints as the reference for analysis of the claims and
issues suitable for class certification remains appropriate given that so many other plaintiffs here
have adopted those same claims and issues through the short-form process and/or have filed
complaints that are substantially identical in relevant passages to the Summit County complaint.
See, e.g., Second Amended Complaint of Cabell County Commission (W.Va.), Doc. #: 518;
Second Amended Complaint of County of Monroe, Michigan, Doc. #: 522; Second Amended
Complaint of Broward County, Florida, Doc. #: 525.

                                                   13
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 14 of 40. PageID #: 413591




distributors, and pharmacies to create internal systems to identify, report, and suspend unlawful

opioid sales, and that defendants failed to meet those obligations; these factual allegations underlie

the second RICO claim above and are also pertinent to adjudication of myriad state-based legal

claims, from public nuisance to negligence. See Summit County Pleadings, Doc. #: 513, ¶¶ 504,

506–659, Short Form Complaint Ruling, Doc. #: 1282-1 at 3 ¶ 3.

       Based on these pleadings, which are common across many, if not most, of the MDL

litigants and putative Class Representatives, the Court will analyze the movants’ request to certify

for class treatment:4

       1. a RICO claim arising out of the alleged Opioid Marketing Enterprise, as against
          five (5) named Defendants – Purdue, Cephalon, Janssen, Endo, and
          Mallinckrodt – under Rule 23(b)(3) (Doc. #: 1820-1 at 83);

       2. a RICO claim arising out of the alleged Opioid Supply Chain Enterprise, as
          against eight (8) named Defendants – Purdue, Cephalon, Endo, Mallinckrodt,
          Actavis, McKesson, Cardinal, and AmerisourceBergen – under Rule 23(b)(3)
          (Doc. #: 1820-1 at 84); and,

       3. two issues related to Defendants’ obligations under the Controlled Substances
          Act, against thirteen (13) named Defendants – Purdue, Cephalon, Endo,
          Mallinckrodt, Actavis, Janssen, McKesson, Cardinal, AmerisourceBergen,
          CVS Rx Services, Inc., Rite-Aid Corporation, Walgreens, and Wal-Mart –
          under Rule 23(c)(4) (Doc. #: 1820-1 at 91 n.46 & at 84–86):

               a. What are the specific obligations of each defendant under the federal
                  Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq. and its
                  implementing regulations, 21 C.F.R. § 1301 et seq., arising out of the
                  requirement that registrants “provide effective controls and procedures
                  to guard against theft and diversion of controlled substances,” 21 C.F.R.
                  § 1307.71(a)?

               b. Did each defendant’s action satisfy these obligations with respect to
                  prescription opioids?



4
 The Court uses simple names for the 13 Defendants listed in the following numbered paragraphs,
but adopts the definitions of the related Defendant entities set out in the Summit County
Complaint, Doc. #1466 at 13–35.

                                                 14
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 15 of 40. PageID #: 413592




B.     The Class Certification Standard

       The Sixth Circuit has held that: “Any class certification must satisfy Rule 23(a)’s

requirement of numerosity, commonality, typicality, and adequate representation [and] fit under

at least one of the categories identified in Rule 23(b).” Clemons v. Norton Healthcare Inc. Ret.

Plan, 890 F.3d 254, 278 (6th Cir. 2018). Under Rule 23(b)(3), class certification is appropriate if

(1) “the questions of law or fact common to class members predominate over any questions

affecting only individual members,” and (2) class resolution “is superior to other available methods

for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Additionally,

Rule 23(c)(4) states that “[w]hen appropriate, an action may be . . . maintained as a class action

with respect to particular issues.” Fed. R. Civ. P. 23(c)(4). The Sixth Circuit recently affirmed the

utility of such “issue certification,” explaining that Rule 23(c)(4) “contemplates using issue

certification to retain a case’s class character where common questions predominate within certain

issues and where class treatment of those issues is the superior method of resolution.” Martin v.

Behr Dayton Thermal Prod. LLC, 896 F.3d 405, 413 (6th Cir. 2018), cert. denied, 139 S. Ct. 1319

(2019). After confirming existence of a cognizable class, this Court will accordingly consider all

of the factors of Rule 23(a) and 23(b)(3) as they apply to both the RICO claims and the CSA issues,

as against each relevant Defendant.

C.     The Class is Ascertainable

       Rule 23(b)(3) classes must be ascertainable. Cole v. City of Memphis, 839 F.3d 530, 541

(6th Cir. 2016). For a class to be ascertainable, the “class definition must be sufficiently definite

so that it is administratively feasible for the court to determine whether a particular individual is a

member of the proposed class.” Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 537–38 (6th

Cir. 2012) (citation omitted). It is administratively feasible for the Court to determine class



                                                  15
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 16 of 40. PageID #: 413593




membership if the class is defined by reference to objective criteria, and with reasonable accuracy.

See id. at 538–39; Rikos v. Procter & Gamble Co., 799 F.3d 497, 525 (6th Cir. 2015).

       The present motion seeks certification of a single national class, defined as:

       all counties, parishes, and boroughs (collectively, “counties”); and all incorporated places,
       including without limitation cities, towns, villages, townships, and municipalities, as
       defined by the United States Census Bureau (collectively “cities”) as listed on the Opioids
       Negotiation Class website, opioidsnegotiationclass.com.

Doc. #: 1820 at 3. The class definition is based on purely objective criteria and is accompanied by

an Excel spreadsheet at the website that lists the names of each of the proposed class members in

34,458 rows. The class is therefore not only ascertainable, its membership has been ascertained.

Defendants argue that the complexity of governmental structures across the country creates some

ambiguous situations and they provide a single such example. Doc. #: 1949 at 3 n.3. Such minor

technical issues can be worked out going forward. For purposes of class certification, the Court

finds that the class is adequately defined.

D.     Rule 23(a)(1): The Class is So Numerous That Joinder is Impracticable

       Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). The Sixth Circuit has held that “no strict numerical test

exists to define numerosity,” In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig., 722

F.3d 838, 852 (6th Cir. 2013), but that “‘substantial’ numbers . . . are sufficient to satisfy this

requirement.” Id. The proposed class consists of 34,458 public entities dispersed throughout the

entire United States. Defendants explicitly concede that “numerosity is self-evident here.” Doc.

#: 1949 at 13. The Court finds that the class is so numerous that joinder of all members would be

impracticable and thus that this requirement has been satisfied.




                                                16
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 17 of 40. PageID #: 413594




E.      Rule 23(a)(2): There are Common Questions of Law or Fact

        Rule 23(a)(2) requires plaintiffs to prove that “there are questions of law or fact common

to the class.” Fed. R. Civ. P. 23(a)(2). Despite the Rule’s use of the plural “questions,” the

Supreme Court has held that a single common question will suffice. Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 359 (2011). Yet, “because the commonality requirement is qualitative, not

quantitative,” 1 Newberg on Class Actions § 3:22, at least one common issue must be central to

the litigation, see Wal-Mart, 564 U.S. at 350 (“That common contention, moreover, must be of

such a nature that it is capable of classwide resolution—which means that determination of its truth

or falsity will resolve an issue that is central to the validity of each one of the claims in one

stroke.”).

        This putative class action occurs within a multi-district litigation (MDL). In creating this

MDL, the Judicial Panel on Multidistrict Litigation (JPML) has steered thousands of individual

actions pending throughout the nation to this Court. Its authority to do so turns on the presence of

common questions. 28 U.S.C. § 1407(a) (“When civil actions involving one or more common

questions of fact are pending in different districts, such actions may be transferred to any district

for coordinated or consolidated pretrial proceedings.”). In initiating this MDL, the JPML held:

        All actions involve common factual questions about, inter alia, the manufacturing
        and distributor defendants’ knowledge of and conduct regarding the alleged
        diversion of these prescription opiates, as well as the manufacturers’ alleged
        improper marketing of such drugs. Both manufacturers and distributors are under
        an obligation under the Controlled Substances Act and similar state laws to prevent
        diversion of opiates and other controlled substances into illicit channels. Plaintiffs
        assert that defendants have failed to adhere to those standards, which caused the
        diversion of opiates into their communities.

Doc. #: 1 at 3. Rejecting the argument that uncommon issues would generate inefficiencies if an

MDL were formed, the JPML concluded: “All of the actions can be expected to implicate common




                                                 17
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 18 of 40. PageID #: 413595




fact questions as to the allegedly improper marketing and widespread diversion of prescription

opiates into states, counties and cities across the nation . . . .” Id.

        While commonality for pre-trial centralization purposes under § 1407 may not be precisely

the same test as commonality for class certification purposes under Rule 23, it is close5 and,

regardless, the JPML’s recitation, like the movants’ papers, Doc. #: 1820-1 at 64–66, 81, identifies

common issues that are qualitatively decisive for Rule 23 purposes. Moreover, there is direct

evidence of the commonality of the claims and issues in this matter given that the short-form

complaint process enabled MDL plaintiffs to adopt these specific claims and issues, and many did

so. The Court finds that there are questions of both law and fact, as to the specified claims and

issues, common to the class with respect to each relevant Defendant; the discussion in sub-section

I, below, concerning whether these common questions predominate, sets forth with more

particularity the specific common RICO and CSA issues.

F.      Rule 23(a)(3): The Class Representatives’ Claims are Typical of Those of the Class

        Rule 23(a)(3) requires that “the claims or defenses of the representative parties [be] typical

of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “Typicality is met if the class

members’ claims are ‘fairly encompassed by the named plaintiffs’ claims’” such that “by pursuing

their own interests, the class representatives also advocate the interests of the class members.” In

re Whirlpool Corp., 722 F.3d at 852–53 (6th Cir. 2013) (quoting Sprague v. Gen. Motors Corp.,



5
  Defendants rely on In re Saturn L-Series Timing Chain Prod. Liab. Litig., No. 8:07CV298, 2008
WL 4866604, at *25 n.21 (D. Neb. Nov. 7, 2008) to argue that “[c]lass certification thus cannot
be bootstrapped from the existence of an MDL.” Doc. #: 1949 at 27. But the footnote that they
reference distinguished the JPML’s finding of commonality from Rule 23’s finding of
predominance. Moreover, in referencing the JPML’s commonality finding as a good description
of the common issues in this case, the Court is not “bootstrapping” on those findings; it is making
its own independent determination of the presence of these findings and using the JPML’s
recitation as a descriptor.

                                                   18
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 19 of 40. PageID #: 413596




133 F.3d 388, 399 (6th Cir. 1998)). “The test for typicality is not demanding . . . . [T]he plaintiffs’

claims need not be identical to those of the class; typicality will be satisfied so long as the named

representatives' claims share the same essential characteristics as the claims of the class at large.”

1 Newberg on Class Actions § 3:29 (internal quotation marks and footnotes omitted).

       As to the claims and issues identified for class treatment, the Court finds that the Class

Representatives’ claims are typical of those of the Class. The movants propose a total of 49

different counties and cities – from 30 states – to serve as Class Representatives.6 The Court has

reviewed the complaints (and where filed, short-form complaints) of each of the 49 proposed Class

Representatives. These complaints demonstrate that the Class Representatives and the absent

Class Members share an identity of interests. All are cities or counties, and are all generally

interested in the same end: recouping money they have been forced to pay to address the opioid

epidemic and ameliorating that epidemic. If the Class Representatives pursue their own interests

identified in these complaints, they will necessarily be pursuing the interests of the absent class

members. There is nothing unique about any of the proposed Class Representatives that would set

them apart in meaningful ways from the absent class members.

       The Defendants set forth a list of contentions to the contrary, Doc. #: 1949 at 38–39, but

most are either irrelevant, recede in importance given the Court’s adoption of the short-form

complaint claims and issues for certification (“Differences in the causes of action asserted in the

complaints . . . Differences in the identities of the defendants . . . Differences in the nature and

quality of evidence available . . . .”), or are differences that do not defeat typicality (“Differences

in the . . . scope of opioid-related harms . . . .”), see Daffin v. Ford Motor Co., 458 F.3d 549, 553



6
  The movants initially proposed 51 class representatives, Doc. #: 1820 at 2, but later withdrew
two (Cuyahoga County, Ohio and Summit County, Ohio). Doc. #: 2583 at 5.

                                                  19
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 20 of 40. PageID #: 413597




(6th Cir. 2006) (finding typicality requirement met where class representative’s and “other class

members’ claims arise from the same practice . . . [and] the same defect . . . and are based on the

same legal theory. Typicality is satisfied despite the different factual circumstances regarding the

manifestation of the [defect] . . .”); 1 Newberg on Class Actions § 3:43 (“Courts routinely find that

the proposed class representative's claims are typical even if the amount of damages sought differ

from those of the class or if there are differences among class members in the amount of damages

each is claiming.”).

       As to the RICO claims and CSA issues, the proposed Representatives’ claims align with

those of the class.    The Court therefore finds that the claims of the 49 proposed Class

Representatives are typical of those of the Class, as to the specified claims and issues, with respect

to each relevant Defendant.

G.     Rule 23(a)(4): The Class Representatives Will Adequately Represent the Class

       Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). The Court looks to two criteria in determining

adequacy of representation: “1) the representative must have common interests with unnamed

members of the class, and 2) it must appear that the representatives will vigorously prosecute the

interests of the class through qualified counsel.” Young v. Nationwide Mut. Ins. Co., 693 F.3d 532,

543 (6th Cir. 2012) (quoting In re Am. Med. Sys., Inc., 75 F.3d 1069, 1083 (6th Cir. 1996)).

       Movants propose 49 Class Representatives. In their moving brief, movants describe each

entity and briefly summarize how the opioid epidemic has impacted it. Doc. #: 1820-1 at 19–46.

As above, the Court has also reviewed all of the relevant complaints and short-form complaints.

Those documents demonstrate that each of the proposed Class Representatives is a member of the

Class and each shares the same overriding interests as the other members of the Class in addressing



                                                 20
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 21 of 40. PageID #: 413598




the consequences of the opioid epidemic. Moreover, as each of these entities is a governmental

unit – some, like Chicago, enormous – the Court is confident that the representatives have the

capacity to perform the functions of being actively engaged in the litigation, assisting Class

Counsel with settlement negotiations, and, importantly, monitoring Class Counsel to ensure that

the Class’s interests remain paramount.

        Most, if not all, of the proposed Class Representatives are entities that have been active in

opioid litigation prior to the filing of the class action motion (“litigating entities”). This of course

is of great value to the class: the litigating entities understand the case best and have been

expending their own resources for years in a way that may now benefit the whole class. Many are

large counties or cities with significant resources, skilled counsel, and enormous expertise as to

the opioid epidemic. Who better to serve as representatives of a class? Defendants latch on to the

fact that the allocation mechanism favors class representatives that primarily seek monetary relief

for past damages over non-litigating entities that may be more interested in non-monetary relief,

Doc. #: 1949 at 21–22, and that the voting scheme requires separate sets of approval from litigating

and non-litigating entities, Doc. #: 1949 at 23–25. Below, the Court addresses the fairness of the

allocation mechanism and finds no immediate fault.             For present purposes, it reveals no

fundamental conflict between litigating and non-litigating entities as to pursuit of this case against

the Defendants that would render the list of 49 proposed representatives inadequate. See 1

Newberg on Class Actions § 3:58 (“Only conflicts that are fundamental to the suit and that go to

the heart of the litigation prevent a plaintiff from meeting the Rule 23(a)(4) adequacy

requirement.”). Similarly, the Court rejects the Defendants’ contention that there is a fundamental

conflict between counties as a group and cities as a group that would require separate counsel and

sub-classing. Doc. #: 1949 at 19–21, 25. It is true that if a settlement is reached, each county and



                                                  21
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 22 of 40. PageID #: 413599




its constituent cities will need to work together – or, arguably, negotiate against one another – to

divide the county-level allocation amongst themselves. But these negotiations are local in nature,

will vary county to county, and, contrary to the Defendants’ assertions, there is not one set of

interests shared by all counties that fundamentally conflicts with one set of interests shared by all

cities.

          Lesser concerns are as easily dismissed. The State Attorneys General suggest that the range

of Class Representatives is incomplete because it does not encompass representatives from each

of the 50 states nor, they allege, from “smaller counties and cities.” Doc. #: 1951 at 7; see also

Doc. #: 1973 at 5. Here, the Court has considered for certification two federal (RICO) claims and

several issues related to federal law (CSA) that are similar across the country and class. This is

not a situation requiring class representatives from each of the 50 states. Moreover, the list of

Class Representatives encompasses smaller areas such as Cass County, North Dakota; City of

Concord, New Hampshire; County of Fannin, Georgia; and County of Gooding, Idaho. Doc. #:

1820 at 1. Importantly, as discussed more fully below, the allocation formula rebuts any concerns

that hard-hit small counties are disadvantaged in some way by the movants’ proposal. Finally,

some of the Class Representatives are individually represented by lawyers who simultaneously

represent States that are objecting to certification of this Class. Doc. ##: 1949 at 17; 1949-2 at 16–

17. The Court finds that this situation does not disqualify these entities from serving as Class

Representatives.7 The Class Representatives themselves have no conflict and, as generally large

governmental units, they have the capacity to balance advice they might get from their individual



7
  Defendants’ citation to the Seventh Circuit decision in Culver v. City of Milwaukee, 277 F.3d
908, 913 (7th Cir. 2002), on this point is inapposite. Doc. #: 1949 at 18. That case did not deal
with the question of a class representative’s separate lawyer, but rather with the class
representative’s lawyer as (former) class counsel. Culver, 277 F.3d at 913.

                                                  22
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 23 of 40. PageID #: 413600




lawyers against their responsibilities to the whole Class. The Court’s conclusion is buttressed by

the fact that there are both dozens of other Class Representatives and a set of experienced Class

Counsel, each of whom represents only counties and cities, not States.

       Like the putative Class Members, the 49 proposed Class Representatives have allegedly

been adversely impacted by the Defendants’ actions with regard to the manufacturing and

distribution of opioids and they seek to be compensated for their losses. The Court finds that the

Class Representatives, individually and as a group, will adequately represent the interests of the

class members, as to the specified claims and issues, with respect to each Defendant.

H.     Rule 23(g): Class Counsel Are Adequate

       Rule 23(g) states that “a court that certifies a class must appoint class counsel.” Fed. R.

Civ. P. 23(g). In undertaking this appointment, the Rule directs the Court to consider: “(i) the

work counsel has done in identifying or investigating potential claims in the action; (ii) counsel's

experience in handling class actions, other complex litigation, and the types of claims asserted in

the action; (iii) counsel's knowledge of the applicable law; and (iv) the resources that counsel will

commit to representing the class.” Id.

       Movants propose the “the appointment of Jayne Conroy and Christopher Seeger as Co-

Lead Negotiation Class Counsel and Gerard Stranch, Louise Renne, Zachary Carter, and Mark

Flessner as Negotiation Class counsel,” Doc. #: 1820 at 2, and have submitted Declarations from

five of these lawyers, and a letter from one other, attesting to their experience, knowledge of the

case, and willingness to commit resources. Doc. ##: 1820-1, Ex. A; 1821. As this Court has

already held in appointing Interim Class Counsel:

       These documents demonstrate that Seeger is a very experienced and successful
       class action attorney, fully qualified to represent the Class. Two of the remaining
       five (Conroy and Stranch) have significant and impressive experience in leadership
       roles in mass tort MDLs in particular, Doc. #: 1820-1, Ex. A, while the remaining

                                                 23
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 24 of 40. PageID #: 413601




        three are or were legal counsel for large cities (Renne/San Francisco; Carter/New
        York; and Flessner/Chicago), Doc. #: 1820-1 at 52. All have been involved in
        opioid-related litigation. Applying Rule 23(g)’s four factor test, the Court finds that
        these lawyers are well-situated to represent the Class.

Doc. #: 2490 at 3.

        In its Orders regarding appointment of Interim Class Counsel, Doc. ##: 2490, 2493, the

Court acknowledged the significant contributions to date of the MDL Negotiation Committee, the

members of which are identified in Doc. #: 118. While most of these lawyers will not serve as

Class Counsel for the Negotiation Class, their depth of knowledge about this case and their general

expertise can continue to provide significant benefit for the Class. Accordingly, the Court’s Order

will clarify that there is no bar to Class Counsel working with the MDL Negotiation Committee

members in negotiating with Defendants, nor is there any bar to these MDL lawyers applying to

share Class Counsel duties in the future should their representational situations change. However,

as the Court’s order appointing interim Class Counsel clarified, only Class Counsel will “(a)

represent the Class in settlement negotiations with Defendants; (b) sign any filings with this or any

other Court made on behalf of the Class; (c) assist the Court with functions relevant to a class

action, such as but not limited to maintaining the Class website and executing a satisfactory notice

program; and (d) speak on behalf of the Class in Court.” Doc. #: 2490 at 5. Thus, only Class

Counsel can bind the Class and Class Counsel must independently approve all final decisions

concerning any Class-based settlement and be the sole signatories on behalf of the Class of all

Class-based term sheets, settlement agreements, or similar documents.

        With these clarifications in the final certification order, the Court finds that the proposed

Class Counsel will alone act for the Class and will fairly and adequately represent the interests of

the class.




                                                  24
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 25 of 40. PageID #: 413602




I.     Rule 23(b)(3): Common Questions of Law or Fact Predominate

       Rule 23(b)(3) requires that “questions of law or fact common to class members

predominate over any questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).

The predominance inquiry consists of two steps: “[a] court must first characterize the issues in the

case as common or individual and then weigh which predominate.” Martin v. Behr Dayton

Thermal Products LLC, 896 F.3d 405, 413 (6th Cir. 2018) (alteration in original) (quoting 2

William B. Rubenstein, Newberg on Class Actions § 4:50 (5th ed. 2010)). Common questions are

those where “the same evidence will suffice for each member to make a prima facie showing.”

Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460, 468 (6th Cir. 2017)

(citation and internal quotation marks omitted).

       1.      RICO Claims

       To prevail on their federal civil RICO claims, the Plaintiffs will have to establish that (1)

the defendants committed a RICO violation, (2) there was an injury to the Plaintiffs’ businesses or

properties, and (3) said injury occurred “by reason of” the RICO violation. See Aces High Coal

Sales, Inc. v. Cmty. Bank & Tr. of W. Georgia, 768 F. App'x 446, 453 (6th Cir. 2019). In turn, the

elements of a RICO violation are “(1) conduct (2) of an enterprise (3) through a pattern (4) of

racketeering activity.” In re ClassicStar Mare Lease Litig., 727 F.3d 473, 483 (6th Cir. 2013)

(citation omitted). Each of these prongs then breaks down into various elements. In the diagram

below, the Court sets forth these elements and sub-elements and characterizes each as either

common (blue) or individual (orange).




                                                   25
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 26 of 40. PageID #: 413603




        RICO ELEMENTS: COMMON (BLUE) vs INDIVIDUAL (ORANGE)




                                     26
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 27 of 40. PageID #: 413604




       As is visually evident, there are a host of issues and sub-issues within the RICO claims.

As applied to Plaintiffs’ allegations concerning the existence of two national enterprises that

disseminated a set of standard falsehoods in marketing and distributing opioids, all of the elements

except injuries are common, not individual. Many courts have so held in similar circumstances.

See, e.g., Just Film, Inc. v. Buono, 847 F.3d 1108, 1121 n.3 (9th Cir. 2017) (noting that the issues

involved in proving a RICO violation “are appropriate for classwide litigation because they focus

on” the defendants’ conduct); In re U.S. Foodservice Inc. Pricing Litig., 729 F.3d 108, 118 (2d

Cir. 2013) (“[F]raud claims based on uniform misrepresentations . . . are appropriate subjects for

class certification.”) (citation and internal quotation marks omitted); McMahon Books, Inc. v.

Willow Grove Assocs., 108 F.R.D. 32, 39 (E.D. Pa. 1985).

       Defendants argue that causation should be characterized as an individual issue, Doc. #:

1949 at 37, but in this case – as to these RICO claims – the characterization of causation as

common, not individualized, is supported by law and fact. Legally, plaintiffs alleging RICO

claims predicated on mail and wire fraud may show third-party reliance and “need not show, either

as an element of [their] claim or as a prerequisite to establishing proximate causation, that [they]

relied on the defendant’s alleged misrepresentations.” Bridge v. Phoenix Bond & Indem. Co., 553

U.S. 639, 661 (2008); see also Brown v. Cassens Transp. Co., 546 F.3d 347, 357 (6th Cir. 2008).

Factually, this Court has already held that the “[p]laintiffs have alleged sufficient facts to support

a . . . direct chain of causation” involving third-party reliance. Doc. #: 1203 at 9–10 (listing steps

in chain). Specifically, the Plaintiffs argue they suffered injuries because others (doctors, patients,

etc.) relied on the Defendants’ misrepresentations, enabling the Defendants to sell more opioids

than the legitimate medical market could support. Whether there was such third-party reliance is

a question susceptible to class-wide proof, justifying characterization of this issue as common.



                                                  27
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 28 of 40. PageID #: 413605




       The numerous common issues obviously predominate. The fact that the “injury” prong

alone is plausibly individualized does not alter this conclusion. Predominance does not require

that every element can be established by class-wide proof, see Sandusky, 863 F.3d at 468, and the

predominance requirement is satisfied “when liability can be determined on a class-wide basis,

even when there are some individualized damage issues,” Beattie v. CenturyTel, Inc., 511 F.3d

554, 564 (6th Cir. 2007) (citation and internal quotation marks omitted). Similarly, the fact that

affirmative defenses may arise, and apply only to some class members, “does not compel a finding

that individual issues predominate over common ones.” Bridging Communities Inc. v. Top Flite

Fin. Inc., 843 F.3d 1119, 1125 (6th Cir. 2016) (citations and internal quotation marks omitted).

       Given this analysis, it is not surprising that many courts within this Circuit have found that

common issues predominate in the adjudication of specific RICO claims. See Williams v. Duke

Energy Corp., No. 1:08-CV-46, 2014 WL 12652315 at *14 (S.D. Ohio Mar. 13, 2014); Lauber v.

Belford High Sch., No. 09-CV-14345, 2012 WL 5822243 at *9 (E.D. Mich. Jan. 23, 2012)

(bifurcating issues of liability and damages); Gokare v. Fed. Express Corp., No. 2:11-CV-2131-

JTF-CGC, 2013 WL 12094870 at *14 (W.D. Tenn. Nov. 22, 2013) (for settlement purposes). This

Court also so concludes.

       2.      CSA Issues

       The pleadings in this case, as discussed above, raise several specific issues arising out of

the Controlled Substance Act for which movants seek certification: the nature of each Defendant’s

obligations under the Act and the question of whether each Defendant complied with those

obligations. Doc. #: 1820-1 at 84. These issues may arise in the adjudication of a federal (RICO)

claim and of various state-law claims. The Court finds that common issues predominate in the

resolution of these two specific issues, standing alone. Applying the Sixth Circuit’s holding in



                                                28
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 29 of 40. PageID #: 413606




Martin, the Court finds that both issues are “capable of resolution with generalized, class-wide

proof” and “need only be answered once because the answers apply in the same way” across the

Class. Martin, 896 F.3d at 414. The fact that these issues may be relevant to the pursuit of state-

based legal claims that vary across the class, or to legal claims that entail the resolution of

individualized issues of causation or damages, “does not mean that [these] individualized inquiries

taint the certified issues.” Id. On the contrary, the certified issues can be addressed without

overlapping with other issues that may or may not be common. For example, the Summit County

complaint sets forth that the CSA issues are relevant to, inter alia, its common law absolute public

nuisance claim, Doc. #: 513 at ¶ 1010, and its negligence claim, id. at ¶¶ 1042, 1045, 1060.

Resolution of the certified issues would speak to the duty and breach elements of a negligence

claim, for example, without pretermitting non-class resolution of the causation and damage

elements. Moreover, since the Court is certifying for classwide treatment only the specific issues

identified, there are no “individualized inquiries that outweigh the common questions prevalent

within each issue.” Martin, 896 F.3d. at 414 (emphasis added).8

       In sum, the Court finds that common issues predominate over individualized issues with

respect to both the RICO claims and the CSA issues, with respect to each specifically-identified

Defendant.




8
 Heeding the Sixth Circuit’s guidance, the Court is aware of the potential Seventh Amendment
concerns raised by issue class certification and “will take care to conduct any subsequent
proceedings in accordance with the Reexamination Clause.” Id. at 416–17. Of course, since the
Court is certifying the class solely for purposes of negotiation, these concerns are not present.
Nonetheless, the Court notes the Sixth Circuit’s conclusion that, “if done properly, bifurcation will
not raise any constitutional issues.” Id. at 417 (citations and internal quotation marks omitted).

                                                 29
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 30 of 40. PageID #: 413607




J.     Rule 23(b)(3): A Class Action is a Superior Method of Adjudication

       For a class action to be maintained, Rule 23(b)(3) requires the Court to determine that “a

class action is superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3). This requirement “is designed to achieve economies of

time, effort, and expense, and promote . . . uniformity of decision as to persons similarly situated,

without sacrificing procedural fairness or bringing about other undesirable results.” Pipefitters

Local 636 Ins. Fund v. Blue Cross Blue Shield of Michigan, 654 F.3d 618, 630 (6th Cir. 2011)

(alteration in original) (internal quotation marks omitted) (quoting Amchem Prod., Inc. v. Windsor,

521 U.S. 591, 615 (1997)). Rule 23(b)(3) itself further enumerates four specific factors speaking

to the desirability of a class suit. Fed. R. Civ. P. 23(b)(3)(A)–(D). Here, all cut in favor of

certification of both the two RICO claims and two CSA issues as against all Defendants:

       1.      The class members’ interests in individually controlling the prosecution or defense

of separate actions. This MDL consists of nearly 2,000 individual actions by class members. That

would appear to cut against class certification, as it seems that many class members are capable

of, and are, litigating individually. However, the proposed class consists of more than 34,000

entities, meaning that a small fraction of them (fewer than 6% here in federal court) are litigating

individually. The vast bulk of class members are not actively involved in opioid litigation. This

factor cuts in favor of certifying a nationwide class. This is particularly true in the negotiation

class certification context for two reasons: (a) any litigant interested in individually controlling its

action can opt out and the proposed procedure will in no way interfere with that individual

litigation, yet (b) negotiation class certification simultaneously engages absent class members in

the negotiation and voting process. To the extent this factor favors individual control and

involvement, the Court finds that the negotiation class will further that end, not impede it.



                                                  30
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 31 of 40. PageID #: 413608




         2.     The extent and nature of any litigation concerning the controversy already begun

by or against class members. As just noted, there are about 2,000 individual cases within this

federal MDL and many more filed in state courts.             Among those in coordinated pre-trial

proceedings in this forum, a few have advanced toward bellwether trials, but all others are at earlier

litigation phases. The proposed negotiation class will not displace or interfere with any of this on-

going litigation. At the same time, this on-going litigation will resolve only a small quantity of

the class’s claims, as noted above, meaning that the extent of the on-going litigation is limited

compared to the size of the class. This factor cuts in favor of certifying a nationwide negotiation

class.

         3.     The desirability or undesirability of concentrating the litigation of the claims in the

particular forum. The JPML has already coordinated the many pending cases in this forum. This

factor therefore cuts in favor of certifying a negotiation class, as a class approach is an efficient

means of handling the 2,000 individual matters that are here.

         4.     The likely difficulties in managing a class action. This prong is inapplicable to the

proposed negotiation class, as the proposal is not for litigation or trial, but simply for settlement

negotiations. Amchem, 521 U.S. at 620 (holding that where the plaintiffs’ class certification

“proposal is that there be no trial,” it is unnecessary to “inquire whether the case, if tried, would

present intractable management problems”).

         The Attorney General of the State of Ohio argues that a class action is not a superior form

of adjudication because the claims are more properly the province of the States, not the cities and

counties. Doc. #: 1973 at 4. The letter joined by roughly 40 Attorneys General implies the same

point without explicitly saying so. Doc. #: 1951 at 3–4. If the Attorneys General believe they

control their local governments’ litigation, then they can attempt to foreclose it directly. To date,



                                                  31
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 32 of 40. PageID #: 413609




they have made no effort in this Court to shut down their constituent entities’ cases. Until they do

so, this Court remains vested with more than 2,000 separate actions by cities and counties from

throughout the United States. The Court cannot pretend these cases do not exist. The Judicial

Panel on Multidistrict Litigation has ordered it to coordinate pretrial litigation in most of these

cases and Article III requires it to resolve those directly filed here.

                                                 ***

        For the foregoing reasons, the Court finds that all of the class certification requirements

are met with respect to the two RICO claims and two CSA issues, as to each relevant Defendant

on each claim or issue. In reaching these conclusions, the Court makes clear that it has not certified

these claims or issues for trial. Because of the limited nature of negotiation class certification,

including the fact that no defendant is required to utilize this process, many Defendants in this

MDL did not even file opposition briefs. The analysis in this Memorandum Opinion is in no way

meant to foreclose any Defendant from making any argument in opposition to a later motion for

class certification, if such a motion is ever made here or in another forum. The Court’s Order will

so hold.




                                                  32
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 33 of 40. PageID #: 413610




IV.    THE COURT WILL LIKELY BE ABLE TO FIND THAT THE ALLOCATION
       AND VOTING PLAN TREAT CLASS MEMBERS EQUITABLY RELATIVE TO
       EACH OTHER

       Rule 23 requires judicial approval of any proposed class action settlement. Fed. R. Civ. P.

23(e). The Rule sets forth a two-step process whereby the Court first ascertains whether the

settlement is sufficiently likely to be approved as to warrant sending notice of it to the class, Fed.

R. Civ. P. 23(e)(1)(B)(i), and then, after a notice and objection period, the Court makes a final

determination of whether the settlement is “fair, reasonable, and adequate,” Fed. R. Civ. P.

23(e)(2). One of the factors the Court must consider in making these assessments is whether “the

proposal treats class members equitably relative to each other.” Fed. R. Civ. P. 23(e)(2)(D). This

means that if a monetary settlement is reached, this Court will be required to find that the money

is being allocated fairly among the class members.

       At this stage in the case, no settlement has been reached. However, with the negotiation

class certification proposal, the movants have identified the settlement allocation and voting plans

up front. They have done so to provide information to each class member about its relative share

of any settlements reached and its relative enfranchisement under this proposal, so as to make the

class member’s current opt-out opportunity as meaningful as possible. The allocation and voting

plans are therefore fixed – class members will make opt-out decisions based on them – and they

will not change if a settlement is reached. Given that this class certification order could set in

motion an elaborate negotiation and settlement process, the Court has stated that it should make a

preliminary determination of the equity of these plans, given that it “would be perverse – and an

enormous waste of judicial and social resources – to launch this whole negotiation class only to

later hold that the allocation scheme, identified at the outset, was inequitable ab initio.” Doc. #:

2529 at 3.



                                                 33
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 34 of 40. PageID #: 413611




       The Court specifically focused on the fact that both the voting and allocation plans

distinguish between: (1) putative class members that filed litigation arising out of the opioid

epidemic by June 14, 2019 (“litigating entities”), Doc. #: 1820-1 at 52, and (2) those class members

that had not filed such litigation (“non-litigating entities”). As noted above, 10% of any settlement

achieved for the Class will be set aside to help defray the legal fees of the litigating entities alone,

with any unused portion flowing back into the full class’s recovery fund, Doc. #: 1820-1 at 95–96;

another 15% of any settlement is set aside for two purposes, one of which is to help defray the

litigation expenses of the litigating entities alone, with, again, any unused portion flowing back

into the full class’s recovery fund, id. at 96; the proposed voting structure requires separate

supermajority approvals from different sets of litigating class members and non-litigating class

members, id. at 53-55; and litigating entities primarily drafted the proposal. To assist the Court in

evaluating these distinctions, and in lieu of sending notice to and seeking reactions from the whole

class at this stage in the proceedings, the Court asked Special Master Cathy Yanni to file a report

analyzing whether the proposed allocation and voting plans treat the non-litigating class members

equitably. Doc. #: 2529.

       On September 10, 2019, Special Master Yanni filed a 17-page report in response to the

Court’s request. Doc. #: 2579. The Court has carefully reviewed Special Master Yanni’s

thoughtful and thorough report and adopts her findings. As to the allocation plan, the Court agrees

with Special Master Yanni’s conclusion that the method for allocating the core class recovery

(75% of the fund) reflects a lot of hard work and is a significant and eminently fair step toward

resolution of these many cases. Nothing in the allocation model appears to skew toward any group

other than those hardest hit by the opioid epidemic. The Attorney General of Ohio argues that the

model favors large cities (many of which serve as Class Representatives), as opposed to smaller



                                                  34
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 35 of 40. PageID #: 413612




hard-hit counties he identifies by name, Doc. #: 1973 at 5, but his understanding is incorrect. A

review of the allocations to the counties he identifies demonstrates that the smaller, hard-hit

counties appropriately receive more recovery per capita than larger counties that have been less-

severely impacted.9 Similarly, a handful of counties filed an objection to the plan, arguing that the

counties hardest hit by the epidemic, as measured by the allocation tool, are not necessarily the

same counties that have been forced to expend the most resources combatting the epidemic. Doc.

#: 1958 at 6–7. The model sets aside 15% of the class’s recovery in its Special Needs Fund to,

inter alia, address precisely these sorts of possible problems. There are a variety of intricacies of

the model – how counties and cities will divide their county’s recovery; how to deal with cities

with recoveries so small as to be impractical to distribute; how the model works when a county

opts out but its cities do not, etc. – but despite opponents’ contentions, Doc. #: 1949 at 19–23, none

of these is fatal and the movants’ approach to each – as reflected in the updated notice and FAQ

documents – is thoughtful and defensible.

       Separate from the fairness of the allocation tool governing 75% of the class’s recovery, the

Court agrees with Special Master Yanni’s conclusions that there is no inequity created by setting

aside funds to address the litigation costs and legal fees of the parties that filed the early cases. As

she notes, the “litigating class members are responsible for, inter alia, launching this litigation in

state and federal courts, generating the establishment of this MDL, pursuing bellwether cases,

uncovering critical facts through the discovery process, and creating significant negotiating



9
  Application of the allocation tool at the case website shows that the large counties the Ohio
Attorney General identifies have per capita settlement values of $2.79 (Cuyahoga); $4.46
(Franklin); and $3.43 (Summit), for an average of $3.56; the smaller counties on whose behalf the
Attorney General protests have settlement values of $4.64 (Adams); $6.08 (Jackson); $2.65
(Perry); $6.15 (Ross); $5.68 (Scioto) and $3.01 (Vinton), for an average of $4.70, or 32% greater
than the large counties.

                                                  35
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 36 of 40. PageID #: 413613




leverage.” Doc. #: 2579 at 7. Given these facts, if a settlement is reached, these early champions

of the class will likely be able to demonstrate that they are eligible for fees and costs from a

common fund and, indeed, it may be unfair to them to force them to bear these costs alone. Id. at

7–8.   Additionally, as Special Master Yanni notes, all fees and costs in a class action must be

adjudicated according to the procedures set forth in Rule 23(h) and this Court will carefully

scrutinize each fee request, as well as the total amount of fees paid from the class’s recovery to all

of the many attorneys involved here – Class Counsel, the MDL leadership, litigating-entity

lawyers, etc. – to ensure that the Class is not unduly taxed. Id. at 8. Importantly, the model clarifies

that any monies in these separate pools that are not distributed to litigating entities would revert to

the entire class.

        The Court also accepts Special Master Yanni’s conclusion that the voting plan – requiring

separate sets of votes from litigating entities and non-litigating entities – does not treat the non-

litigating counties unfairly. As she concluded:

        (1) all class members have the same franchise (one vote); (2) the vote-counting
        mechanism understandably ensures that any settlement is approved by a majority
        of the class, counted by head, by population, and by impact; (3) the vote-counting
        mechanism further ensures against the non-litigating class members approving a
        low settlement unacceptable to the litigating class members; (4) that assurance is
        defensible on the grounds that the litigating entities are the most knowledgeable
        about the value of the class’s claims; and (5) the fact that nonlitigating entities must
        separately approve the settlement tempers concerns that the litigating entities will
        settle low to recover their costs, as does the fact that the litigating entities are likely
        to be able to spread their costs across the whole class as described above.

Id. at 13.

        Finally, having found that neither the allocation nor voting mechanisms enshrine any

fundamental intra-class conflict between litigating and non-litigating entities, Special Master

Yanni concluded that a single set of class representatives and class counsel could represent the

whole class, without the need for sub-classes. Id. at 13–17. The Court agrees.

                                                    36
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 37 of 40. PageID #: 413614




V.     THE NOTICE AND EXCLUSION PLANS ARE SUFFICENT

A.      Notice

       The moving parties submitted proposed notices and a notice plan, Doc. #: 1820-2, Ex. A,

and Interim Class Counsel subsequently submitted updated versions of these documents. Doc. ##:

2583, 2583-1, 2583-2. The Court has carefully reviewed these documents and finds that they

comply with the requirements of Rule 23 and that, as due process requires, they are “reasonably

calculated, under all the circumstances, to apprise interested parties of the pendency of the action

and afford them an opportunity to present their objections [or otherwise safeguard their interests].”

Vassalle v. Midland Funding LLC, 708 F.3d 747, 759 (6th Cir. 2013) (citation and internal

quotation marks omitted).

       Rule 23(c) requires the Court in a class action under Rule 23(b)(3) to “direct to class

members the best notice that is practicable under the circumstances, including individual notice to

all members who can be identified through reasonable effort,” and notes that such notice may be

“by one or more of the following: United States mail, electronic means, or other appropriate

means.” Fed. R. Civ. P. 23(c)(2)(B). Here the notice will be sent by first-class United States mail

to all class members. Doc. #: 2583 at 3–4. It will also be posted at the class website. Id. at 4.

The notice will also be emailed to that sub-set of the class for which the notice administrator has

email addresses. Id. at 4 n.1. The method requirements of Rule 23(c)(2)(B) are met.

       The Rule further requires that the notice “clearly and concisely state in plain, easily

understood language: (i) the nature of the action; (ii) the definition of the class certified; (iii) the

class claims, issues, or defenses; (iv) that a class member may enter an appearance through an

attorney if the member so desires; (v) that the court will exclude from the class any member who

requests exclusion; (vi) the time and manner for requesting exclusion; and (vii) the binding effect



                                                  37
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 38 of 40. PageID #: 413615




of a class judgment on members under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B)(i)–(vii). The

notice packet contains a two-page notice along with a 13-page set of Frequently Asked Questions

(FAQs), Doc. #: 2583-1, in a format recommended by the Federal Judicial Center, see Fed. Judicial

Ctr., Judges’ Class Action Notice and Claims Process Checklist and Plain Language Guide 8–9

(2010), https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf. The two-page notice alone

contains each of the seven pieces of information required by Rule 23 and the FAQs provide even

more detailed information as to most. The content requirements of Rule 23(c)(2)(B) are met.

       Beyond the basics, the Court notes, as discussed above, that the moving parties have gone

to great lengths to make transparent the various aspects of this unique procedure – the allocation

formula and its underlying components, the voting plans, etc. A class website, active since June,

has provided a wealth of information to the putative class members and will continue to do so

following certification. The moving parties have done a commendable job making transparent all

of the moving parts of this novel procedure. The Court finds that the class members have been

provided a wealth of pertinent information that will enable them to make informed decisions about

whether to remain in or opt out of this Negotiation Class.

B.     Exclusion

       Rule 23(c)(2)(B) requires, for any class certified under Rule 23(b)(3), that the district court

send notice to class members informing them “that the court will exclude from the class any

member who requests exclusion,” Fed. R. Civ. P. 23(c)(2)(B)(v), and specifying “the time and

manner for requesting exclusion,” Fed. R. Civ. P. 23(c)(2)(B)(vi). The Federal Judicial Center

recommends that a form be provided to class members, see Manual for Complex Litigation

(Fourth) §§ 21.311–21.312 (2004) [hereinafter Manual for Complex Litigation], and instructs that

the form should “clearly and concisely explain the available alternatives and their consequences,”



                                                 38
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 39 of 40. PageID #: 413616




id. at § 21.321. Exclusion notices should require “that class members (1) mail a letter or post card;

(2) by a date certain; (3) to a specific address; (4) clearly identifying themselves and/or some

information demonstrating their membership in the class” but “[c]lass members are not required

to give reasons for opting out.” 3 Newberg on Class Actions § 9:46. Rule 23 does not mandate a

time period within which class members must exercise their exclusion right, but the Manual for

Complex Litigation suggests that class members be given a “reasonable time” and states that courts

“usually establish a period of thirty to sixty days (or longer if appropriate) following mailing or

publication of the notice for class members to opt out.” Manual for Complex Litigation § 21.321.

       The movants propose that Class Members be required to fill out a designated Exclusion

Request Form, Doc. #: 2583-2, and be given 60 days (until a date certain – November 22, 2019)

to do so. Doc. #: 2583 at 5. The movants explain that the “form can be submitted to the Notice

Administrator via either first-class mail or email.” Doc. #: 2583 at 3. The Exclusion Request

Form is part of the Notice packet and will be posted and distributed in the same manner as the

Notice packet. Id. The movants further explain that:

       Exclusion Request Forms would not have to be notarized but, instead, would have
       to be executed with an averment, pursuant to 28 U.S.C. § 1746, that the city or
       county official has the authority to submit the exclusion request. Also, the form
       would contain an express acknowledgment of the consequences of opting out
       (including that the city or county will not share in any recovery achieved by the
       Class and that it may not be afforded an opportunity at a later date to revoke its opt-
       out request). Mandating use of a specific form for opting out should sharply reduce,
       if not eliminate altogether, both disputes as to whether opt-out requests comported
       Court-directed requirements as well as potential arguments about whether optouts
       genuinely understood the ramifications of their exclusion requests.

Id.

       The Court has reviewed the Exclusion Request Form and finds that it meets the

requirements of Rule 23. It clearly explains the ramifications of exclusion, and it provides exact




                                                 39
Case: 1:17-md-02804-DAP Doc #: 2590 Filed: 09/11/19 40 of 40. PageID #: 413617




instructions about how and when to execute and return the form. The plan sufficiently protects

the absent-class members’ right to exclude themselves from this Class.

                                         CONCLUSION

       For the foregoing reasons, the Court certifies a Negotiation Class on the claims and issues

identified, against the Defendants identified, and appoints Class Counsel. The Negotiation Class

is authorized to negotiate settlements with any of the 13 sets of Defendants identified herein, on

any of the claims or issues identified here, or those arising out of a common factual predicate. See

Moulton v. U.S. Steel Corp., 581 F.3d 344, 349 (6th Cir. 2009) (“The question [of whether a

subsequent claim is barred] is not whether the definition of the claim in the complaint and the

definition of the claim in the release overlap perfectly; it is whether the released claims share a

‘factual predicate’ with ‘the claims pled in the complaint.’” (quoting Olden v. Gardner, 294 F.

App'x 210, 220 (6th Cir. 2008))). See generally 6 Newberg on Class Actions § 18:19. If Class

Counsel seek to utilize the Negotiation Class to negotiate against any other Defendants, they may

later make a formal motion to amend the class certification order accordingly. As set forth in an

accompanying Order, this Court does not authorize the Negotiation Class to negotiate on behalf

of cities and counties against their State governments, as its proponents suggested. Doc. #: 1820-

1 at 53. This puts to rest a concern raised by the Attorneys General. Doc. #: 1951 at 3.

       As noted throughout, an Order accompanies this Memorandum Opinion.

                                                     /s/ Dan Aaron Polster_______________
                                                     DAN AARON POLSTER
                                                     UNITED STATES DISTRICT JUDGE

Dated: September 11, 2019




                                                40
